       Case 1:13-cr-00362-AWI-BAM Document 137 Filed 06/23/14 Page 1 of 4


1    Steven L. Crawford #166488
     LAW OFFICE OF STEVEN L. CRAWFORD
2
     192 North 11th Street
3    Grover Beach, CA 93433
     Telephone: (805)458-6312
4    Fax: (805)489-2001
5
     Attorney for Defendant, RODNEY EDWIN MOON
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7
8                         UNITED STATES DISTRICT COURT
9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )             Case No. 1:13CR00362 AWI/BAM
12                                   )             (006)
13
                    Petitioner,      )
                                     )             WAIVER OF APPEARANCE
14                                   )             AND REQUEST FOR ORDER
15                                   )             AUTHORIZING WAIVER OF
                                     )             APPEARANCE; ORDER
16
     RODNEY EDWIN MOON,              )
17                                   )             Date: 07/01/2014
                    Defendant.       )             Time: 1:00 p.m.
18
     _______________________________ )             Dept: BAM
19
20         TO THE HONORABLE BARBARA A. MCAULIFFE:
21
           Defendant RODNEY EDWIN MOON hereby waives his right to be present
22
23   in person for the status hearing currently set for July 1, 2014 at 1:00 p.m.
24
     Defendant hereby requests the court to proceed in his absence and agrees that his
25
26   interests will be deemed represented at the hearing by the presence of his attorney
27   Steven L. Crawford. This request is based upon the fact that Mr. Moon currently
28
       Case 1:13-cr-00362-AWI-BAM Document 137 Filed 06/23/14 Page 2 of 4


1    resides in Boyd, TX, and is currently on a limited fixed income in that he is
2
     retired. Mr. Moon has been and continued to be in contact with my office and is
3
4    not a flight risk or danger to society. In addition, it is a financial hardship for Mr.
5
     Moon to make the trip from Texas to California. (See attached declaration of
6
7    counsel)
8    Dated: June 19, 2014
9
                                Respectfully submitted,
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12
                                      /S/ Steven L. Crawford
13                              Steven L. Crawford
14                              Attorney for Rodney Moon
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       Case 1:13-cr-00362-AWI-BAM Document 137 Filed 06/23/14 Page 3 of 4


1               DECLARATION OF COUNSEL IN SUPPORT OF WAIVER OF
2                                APPEARANCE
3
     I, STEVEN L. CRAWFORD, do hereby declare under penalty of perjury as
4
     follows:
5
6       1. That I was appointed to represent Defendant Rodney Moon on October 29,
7
                2013:
8
9       2. Mr. Moon and I have had conversations on the telephone;
10
        3. That Mr. Moon has been responsive to my phone calls and requests for
11
12              information without delay;
13
        4. That due to the hardship financially, Mr. Moon asked that he be permitted to
14
15              have me as his counsel appear for him in absentia.
16
                Executed this 19th day of June, 2014 in Grover Beach, California.
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19                                                     /S/ Steven L. Crawford
20                                           STEVEN L. CRAWFORD
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         Case 1:13-cr-00362-AWI-BAM Document 137 Filed 06/23/14 Page 4 of 4


1                                         ORDER
2
            Waiver is granted as to Rodney Moon for the status conference set for July
3
4    1, 2014.
5
6
     IT IS SO ORDERED.
7
8        Dated:   June 23, 2014                      /s/ Barbara A. McAuliffe
9    _
                                               UNITED STATES MAGISTRATE
10   JUDGE
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